 Tuener, J., dissenting: I am unable to reconcile the conclusions reached in this case with the contrary ruling which has long been settled law in cases where a vendor of real estate, in addition to the simple individual liability to pay, receives as further security a mortgage on the property sold. While there are foim and technical differences in the two types of transactions, they are for practical purposes" substantially similar. In each instance, the vendee is regarded as the owner of the real estate, and in each instance, the land may be sold, devised, or encumbered by him, and on his death descends to his heirs subject only to the mortgage or land contract. In the case of land contracts, see on this point Bowen v. Lansing, 219 Mich. 117, 88 N. W. 384. The purpose of both the land contract and the mortgage is to secure payment of the balance remaining of the simple or personal obligation to pay. For a land contract case, see Walker v. Casgrain, 101 Mich. 604, 60 N. W. 291. It is true that in the land contract cases there is no transfer of legal title until full payment is made, but the vendor holds legal title in trust for the purchaser pending such full payment. Hoofer v. Van Husen, 105 Mich. 592, 63 N. W. 522; City of Marquette v. Michigan, Iron &amp; Land Co., 132 Mich. 130, 92 N. W. 934. For other cases which seem to establish the similarity in over-all effect between mortgages and land contracts, see Harold R. Smith, 39 B. T. A. 892; Title &amp; Trust Co., 33 B. T. A. 25; Barnard v. Huff, 252 Mich. 258, 233 N. W. 213; Chicago Boulevard Land Co. v. Apartment Garages, 245 Mich. 448, 222 N. W. 697; and Conners v. Winans, 122 Misc. 824, 204 N. Y. S. 142. And finally, both mortgages and land contracts are regularly sold, traded and assigned. Probably the most noticeable difference between the two is geographic. In Michigan, for instance, the use of the land contract, rather than the mortgage, appears to be the method commonly followed in making real estate sales. We should where possible avoid'one rule of law for one part of the country and a different rule for other sections. Harold W. Johnston, supra, relied on by the Court herein, is in my opinion an entirely different case. There the property sold was corporate stock and the selling price had not even been and could not be fixed and determined in 1942, the taxable year. Furthermore, the discussion therein as to property received would, it seems to me, bring this case more nearly in line with the land mortgage cases than otherwise. Oppeh, J., agrees with this dissent. 